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UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA

October 2017 Grand Jury

UNITED STATES OF AMERICA, §§R§'i\ld{; §§ § @:;? y @ ,QUA) ~

PDMUH, ;§Q;§:M§§I
v. [18 U.S.C. § 115(a)(1)(B):
. Threatening a United States
ANTHONY SCOTT LLOYD, Official]
Defendant.

 

 

 

 

The Grand Jury charges:

[18 U.S.C. § 115(a)(1)(B)]

On Or about October 22, 2017, in LOS'AngeleS County, Within the
Central District of California, defendant ANTHONY SCOTT LLOYD
knowingly threatened to murder a United StateS efficial, namely, a
United StateS Congresswoman for the State Of California, With the

intent to impede, intimidate, and interfere with the COngreSSWOman

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while She was engaged in the performance of official duties, and with

the intent to retaliate against the Congresswoman on account of the

performance of official duties.

SANDRA R. BROWN
Acting United States Attorney

LAWRENCE S. MIDDLETON
ASSiStant United States Attorney
Chief, Criminal Division

§®Q/

SCOTT M. GARRINGER
Assistant United States Attorney
Deputy Chief, Criminal Division

CHRISTINA T. SHAY

Assistant United States Attorney
Deputy Chief, General CrimeS
Section

VERONICA DRAGALIN
ASSistant United States Attorney
General Crimes Section

A TRUE BILL

/5/

Foreperson

 

 

